June 29, 1917. The opinion of the Court was delivered by
The defendant was indicted, tried, convicted and sentenced at the Fall term of the Court, 1916, for Charleston county, before Judge Rice, and a jury, for violation of law in unlawfully storing contraband liquor. Two witnesses, police officers of the city of Charleston, testified for the State. At the close of the State's evidence the defendant moved for a directed verdict of "not guilty," which motion was refused. The defense introduced no testimony. After sentence, defendant appeals, and charges error in refusing defendant's motion for a directed verdict, substantially upon the ground that there was not evidence sufficient to support the verdict upon the question that the liquor in question was contraband, and that the possession and storing were unlawful and illegal.
There was sufficient evidence in the case for the jury to determine whether the liquor was legally obtained for an illegal purpose, or whether the liquor was illegally obtained for a legal purpose. The jury found the defendant guilty on the evidence submitted by the State. The defendant made no effort to contradict or explain, introduced no evidence at all. Under the evidence there is ample evidence to sustain the verdict, under the authority of State v. Rookard,87 S.C. 442, 69 S.E. 1076; State v. Green, 89 S.C. 132,71 S.E. 847. This exception is overruled.
The remaining assignments of error were withdrawn at the hearing of the case in this Court.
Judgment affirmed.